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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         STATESBORO DIVISION

UNITED STATES OF AMERICA                )      CASE NO: 6:18-CR-14
                                        )
v.                                      )
                                        )
PALMER ALTON BAZEMORE, III              )

              GOVERNMENT’S NOTICE OF PLEA AGREEMENT

      NOW COMES the United States of America, by and through Bobby L.

Christine, United States Attorney for the Southern District of Georgia, and pursuant

to 18 U.S.C. §3161(h)(1)(G), notifies the Court that a plea agreement has been

reached by the parties which would dispose of the charges pending in the above-

captioned case against the Defendant.       A copy of the plea agreement has been

provided to the Court for its consideration.

      The Government respectfully requests that the Court schedule a Rule 11

proceeding and accept the Defendant’s plea as set forth in the proposed agreement.

      This 7th day of December 2018.

                                        Respectfully submitted,

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY

22 Barnard Street, Suite 300            s/ Marcela C Mateo
Savannah, Georgia 31401                 Marcela C. Mateo
Telephone: (912) 652-4422               Assistant United States Attorney
Facsimile: (912) 652-4991               Georgia Bar No. 397722
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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       This 7th day of December 2018.

                                        BOBBY L. CHRISTINE
                                        UNITED STATES ATTORNEY


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